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          Exhibit D-4
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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

   SUSAN BYRNE,                                :
     Plaintiff                                 :     Civil Action No.
                                               :
   vs.                                         :     3:17-cv-01104-VLB
                                               :
   YALE UNIVERSITY                             :
     Defendant                                 :     DECEMBER *, 2019
                                               :

                 DEFENDANT’S PROPOSED VOIR DIRE QUESTIONS

         Defendant Yale University respectfully submits the following proposed voir

dire questions for use in jury selection in this case.

GENERAL

         1.    Do any of you feel that jury duty will create a financial hardship for

you or your family? If so, please explain.

         2.    In the trial of this case, all parties are entitled to have the case

decided on the basis of the evidence presented at trial. Is there any reason why

any of you might not be able to render a fair verdict?

         3.    Your duty will be to listen to the testimony. At the conclusion of the

testimony, the Court will instruct you as to what the law is and will charge you to

apply those principles of law to the case before you. Do you feel confident that

you will be able to follow the court’s instructions on the law even if you disagree

with the law? If any of you do not, please let me know.




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KNOWLEDGE OF THE PARTIES AND COUNSEL

      4.      Do you or, to your knowledge, does any member of your immediate

family, know the plaintiff, Susan Byrne?

      5.      Do you or, to your knowledge, do any of your close friends or

relatives know of any of Ms. Byrne’s friends, family members, or former

colleagues?

      6.      Do you, or does any member of your family, work for Yale University,

or have you worked there in the past? Have you, or any member of your family,

enrolled at Yale University, or attempted to do so? Have you or any members of

your family ever applied for admission to Yale University? Have you ever visited

Yale University, and if so, for what purpose?

      7.      Do you know anyone who was or is employed by Yale University?

      8.      Do you know anyone who was or is enrolled as a student at Yale

University, either as an undergraduate, graduate, law or medical student?

      9.      Have any of you or anyone you know ever been dissatisfied with Yale

University in any way? Please explain.

      10.     Do you have any feelings against Yale University that would keep

you from being entirely fair and impartial toward Yale University?

      11.     Do   you   believe,   for   whatever   reason,   that   Yale   University

discriminates ore retaliates against its employees or treats them unfairly?

      12.     Do   you   believe,   for   whatever   reason,   that   Yale   University

discriminates against its students or treats them unfairly?

      13.     Have you ever made any complaints regarding Yale University?

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      14.      Do you know any of the proposed witnesses in this case? If so, how

do you know the individual? Do you have any feelings or opinions about such

individuals?

      15.      Do you know any of the defense attorneys involved in this case,

namely Victoria Woodin Chavey or David Salazar-Austin of the law firm of

Jackson Lewis P.C. or any member of that law firm?

BACKGROUND INFORMATION

      16.      Where do you currently reside? How long have you lived there? Do

you rent or own your residence?

      17.      What is your educational background?

      18.      Are you married? If so, is your spouse employed? By whom and in

what position? How long has he/she worked for his/her current employer? Have

you or has your spouse ever lost a job? For what reason?

      19.      Have you ever applied for a position with your current employer, and

not been selected? Did you complain about the fact that you were not selected?

      20.      Have you ever complained internally that your employer mistreated

you in some way?           Have you had any problems with your employer based

on the fact that you raised your complaint?

      21.      This case involves allegations of retaliation for having allegedly

complained of discriminatory or harassing conduct:         can you be a fair and

impartial juror in this case?

EMPLOYMENT BACKGROUND

      22.      Are you currently employed?

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      23.   If so, who is your employer? What position do you hold?

      24.   How long have you worked there?

      25.   How would you describe your experiences or dealings with your

current employer? Very satisfactory? Satisfactory? Neutral? Unsatisfactory?

Very unsatisfactory?

      26.   By whom have you been employed over the last ten years besides

your current employer?     What was/were your job titles?   How long were you

employed there?

      27.   Have you ever lost a job? For what reason?

      28.   Have you ever been accused of violating a company policy? If so,

please explain.

      29.   Have you ever been the subject of a company investigation? If so,

please explain.

      30.   Have you ever been denied a promotion that you felt you were

deserving of? If so, please explain.

      31.    Has anyone close to you ever been denied a promotion that you felt

you were deserving of? If so, please explain.

      32.   Have you ever been terminated from a job? If so, please explain.

      33.   Has anyone close to you ever been terminated from his or her

employment?

GENERAL FEELINGS CONCERNING THE CASE AND THE PARTIES




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      34.    Do you have any personal feelings against employers generally, or

colleges and universities? Can you be as fair and impartial to a university as to

an individual?

      35.    Do you think you would be inclined to find Yale University liable and

award money damages even if you don’t find the Plaintiff has proven her case

simply because you believe Yale University has the resources to pay?

      36.    Do you have any opinions about large employers (companies,

universities, etc.) and how they treat their employees?

      37.    Do you have any feelings as to whether an individual litigant is more

likely to be telling the truth than a representative from a university?

LAWSUITS

      38.    Have you ever sued an employer or former employer for any reason?

      39.    Do you have any family members or close friends who have brought

lawsuits or claims against an employer or former employer?

      40.    Have you ever been a party to or a witness in a lawsuit? If so, please

describe the lawsuit and your role in it?

      41.    Have you ever thought about suing an employer for any reason?

      42.    Has a claim for money damages ever been made against you or

anyone close to you?

      43.    Have you, any members of your family or close friends ever been a

defendant in a lawsuit?




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UNDERSTANDING OF LEGAL PROCESS

        44.   Is there anyone here who believes that just because Ms. Byrne filed a

lawsuit, she is entitled to recover something?

        45.   Do you understand that Ms. Byrne’s evidence will be heard first?

Are you confident that you will be able to reserve judgment on this case until you

have heard both sides of this case?

        46.   Do you as jurors understand that merely because Ms. Byrne has filed

this lawsuit it does not mean that Yale University has done anything wrong or

violated some legal rights of Ms. Byrne?

        47.   Do you understand that Ms. Byrne is required to prove by a

preponderance of the evidence that some legal right has been violated and that it

is not up to Yale University to disprove the claims of Ms. Byrne?

        48.   Have you ever testified in Court or under oath? Describe?

OPINIONS ABOUT LEGAL SYSTEM

        49.   Do you have any opinions about the legal system that would prevent

you from being a fair and impartial juror in this case?

        50.   Do you have any pre-existing opinion as to who should prevail in this

case?

        51.   Do you know of any reason, whether you have been asked about it in

a specific question or not, why if you serve as a juror you could not decide this

case fairly and impartially based on the evidence and under the law as the Court

gives it to you?



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JURY SERVICE

      52.   Have you ever sat on a jury before? When? What court? Was it a

civil or criminal case? What was the nature of the case? Was a verdict reached?

For whom did the jury decide? What was the award, if any?




        LIST OF JACKSON LEWIS P.C. LAWYERS – HARTFORD OFFICE

Jackson Lewis P.C.

  1. Tanya Bovée
  2. Victoria Woodin Chavey
  3. Holly Cini
  4. Allison Dearington
  5. Allan Friedland
  6. Beverly Garofalo
  7. David Golder
  8. Russ Jarem
  9. David Jimenez
  10. Jessica Murphy
  11. James Reilly
  12. David Salazar-Austin
  13. Jim Shea
  14. Sara Simeonidis
  15. Sarah Skubas
  16. Kaelah Smith
  17. Sally Welch St. Onge
  18. Margaret Strange
  19. Justin Theriault
  20. Carolyn Trotta
  21. Richard Vitarelli
  22. Jessica Vizvary
  23. Allison Jacobs Wice




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